      IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
                     DISTRICT OF TENNESSEE

JOSEPH G. TROWERY                         )
Plaintiff,                                )
                                          )
                                          )      Civil Action No. 3:11cv 1182
v.                                        )
DOLLAR TREE STORES INC.,                  )
CARL CAIN,                                )
Defendants.                               )


                             NOTICE OF NONSUIT
         Comes now the Plaintiff, Joseph G. Trowery, by and through his attorney

and files this notice of nonsuit with prejudice against the Defendant Carl Cain.



                                          Respectfully submitted,


                                          _/s/J. Stephen Mills______
                                          J. Stephen Mills #19835
                                          PO Box 281077
                                          Nashville, TN 37228-1 077
                                          615-366-0690
                                          Attorney for Plaintiff




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                             CERTIFICATE OF SERVICE
I certify that a copy of this motion has been sent to the following by the Court’s ECF
Mail System on the 27th day of January, 2012:
C.Eric Stevens
Little Mendelson, PC
3200 West End Avenue
Suite 500
Nashville, TN 37203
                                                            __/s/ Steve Mills_________
                                                            J. Stephen Mills




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